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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

FTX TRADING LTD., et al., 1                                       Case No. 22-11068 (JTD)

         Debtors.                                                  (Jointly Administered)



ALAMEDA RESEARCH LLC, FTX
TRADING LTD., WEST REALM SHIRES,
INC., AND WEST REALM SHIRES
SERVICES INC. (D/B/A FTX.US),

         Plaintiffs,
                                                                   Adv. Pro. No. 23-50419 (JTD)
         v.

DANIEL FRIEDBERG,

         Defendant.


                               NOTICE OF PRETRIAL CONFERENCE

         PLEASE TAKE NOTICE that the pretrial conference in the above-captioned adversary

proceeding is scheduled for October 4, 2023 at 1:00 p.m. (ET) before the Honorable John T.

Dorsey at the United States Bankruptcy Court for the District of Delaware, located at 824 North

Market Street, 5th Floor, Courtroom No. 5, Wilmington, Delaware 19801.




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


{1368.002-W0071815.}
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{1368.002-W0071815.}                           2
